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 4

 5
     Attorney for Defendant
     JORDAN WIRTZ
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-226 GEB
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     PATRICIA ALBRIGHT, and                          )
                                                     )       Date: October 21, 2011
13   JORDAN WIRTZ,                                   )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14
            Defendants.                              )
                                                     )
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                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Michael M. Beckwith, Assistant United States Attorney, together with counsel for

19
     defendant Patricia Albright, Timothy Zindel, Esq., and counsel for defendant Jordan Wirtz, John

20
     R. Manning, Esq., that the status conference presently set for August 12, 2011 be continued to

21
     October21, 2011, at 9:00 a.m., thus vacating the presently set status conference.

22
            Further, all of the parties, the United States of America and all of the defendants as stated

23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a

24
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that

25
     time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code

26
     Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to

27
     prepare) from the date of the parties stipulation, August 10, 2011, to and including October 21,

28
     2011. The defense requests more time to review the discovery and conduct investigation. In



                                                         1
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 1   addition, counsel for defendant Patricia Albright, Timothy Zindel, will be on family medical
 2   leave from mid September to mid October.
 3   IT IS SO STIPULATED.
 4
     Dated: August 10, 2011                                     /s/ Timothy Zindel
 5                                                              TIMOTHY ZINDEL
                                                                Attorney for Defendant
 6                                                              Patricia Albright
 7
     Dated: August 10, 2011                                      /s/ John R. Manning
 8                                                              JOHN R. MANNING
                                                                Attorney for Defendant
 9                                                              Jordan Wirtz
10

11   Dated: August 10, 2011                                     Benjamin B. Wagner
                                                                United States Attorney
12

13
                                                         by:    /s/ Michael M. Beckwith
                                                                MICHAEL M. BECKWITH
14                                                              Assistant U.S. Attorney
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               Case 2:11-cr-00226-TLN Document 42 Filed 08/25/11 Page 3 of 4



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 7
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                         ) No. CR-S-11-226 GEB
10
                                                       )
                                                       )
11          Plaintiff,                                 ) [PROPOSED] ORDER TO
                                                       ) CONTINUE STATUS CONFERENCE
12
     v.                                                )
                                                       )
13
     PATRICIA ALBRIGHT, and,                           )
                                                       )
14   JORDAN WIRTZ,                                     )
                                                       )
15
            Defendants.                                )
                                                       )
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                                                       )
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18

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            The Court, having received, read, and considered the stipulation of the parties, and good

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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that

22
     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within

23
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the

24
     failure to grant a continuance in this case would deny defense counsel to this stipulation

25
     reasonable time necessary for effective preparation, taking into account the exercise of due

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     diligence. The Court finds that the ends of justice to be served by granting the requested

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     continuance outweigh the best interests of the public and the defendants in a speedy trial.

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                                                       3
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            The Court orders that the time from the date of the parties' stipulation, August 10, 2011,
 1
     to and including October 21, 2011, shall be excluded from computation of time within which the
 2
     trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
 3
     § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
 4
     prepare). It is further ordered that the August 12, 2011, status conference shall be continued
 5
     until October 21, 2011, at 9:00 a.m.
 6

 7   IT IS SO ORDERED.
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10                                               GARLAND E. BURRELL, JR.
                                                 United States District Judge
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